             Case 1:04-cv-02107-BEL Document 84 Filed 11/08/05 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

DAMON BELLAMY-BEY                                :
                                                 :
        v.                                       :                 CIVIL NO. L-04-2107
                                                 :
BALTIMORE POLICE                                 :
DEPARTMENT, et al.                               :

                                      MEMORANDUM

        Now pending are (i) Plaintiff Damon Bellamy-Bey’s (“Bellamy-Bey”) Motion for

Sanctions and Extension of Time; (ii) Defendants Sean Mahoney, Jeffrey Archambault, and Kirk

Black’s (“Defendants”) Cross Motion for Protective Order; (iii) Bellamy-Bey’s Motion for

Recusal; (iv) Defendants’ Motion for Summary Judgment; (v) Bellamy-Bey’s Motion to Stay

Consideration of Defendants’ Motion for Summary Judgment; and (vi) Bellamy-Bey’s Motion

for Rule 11 Sanctions. For the reasons stated below, the Court will, by separate order, DENY

each of the pending motions without prejudice.

I.      Background

        This is a 42 U.S.C. § 1983, Fourth Amendment case. Bellamy-Bey alleges that on

November 14, 2003, several Baltimore City Police Officers stopped him without reasonable

suspicion and ordered him to produce identification. When he refused, the officers forcibly

removed him from his car and detained him while they conducted a search and determined

whether there were any outstanding warrants. Bellamy-Bey alleges that the incident lasted one

hour.

        On July 9, 2004, Bellamy-Bey filed the instant action. The original complaint named the

Baltimore Police Department, Sergeant Mahoney and several unidentified police officers. On

June 7, 2005, the Court granted Bellamy-Bey leave to amend his complaint, and Bellamy-Bey
             Case 1:04-cv-02107-BEL Document 84 Filed 11/08/05 Page 2 of 3



named six previously unnamed officers. On July 28th, this Court issued an order bifurcating the

case, which will proceed against the individual police officers. If Bellamy-Bey obtains a verdict,

the case will proceed against the Baltimore Police Department. Bellamy-Bey and Sergeant

Mahoney have since been deposed, and Bellamy-Bey’s counsel, Jeffrey Lawson, began the

deposition of Officer Chappell. On November 4th, this Court held a telephone conference with

counsel for both parties to discuss the discovery progress and the pending discovery motions.

II.    Discovery Motions

       The Court hereby orders that:

       (i)       Mr. Spicer will obtain the files containing any citizen complaints lodged against
                 any of the police officer defendants. The files will be turned over to the Court for
                 its in camera review.

       (ii)      Mr. Lawson will send a letter to Mr. Spicer naming the person assigned to
                 investigate Bellamy-Bey’s complaint. Mr. Spicer will contact the investigator to
                 determine whether the investigator can identify any documents pertinent to this
                 case. If so, Mr. Spicer will produce those documents to Mr. Lawson.

       (iii)     Mr. Lawson will provide Mr. Wollery’s telephone number to Mr. Spicer.

       (iv)      Mr. Lawson will provide Mr. Spicer with the cell phone number Bellamy-Bey
                 was using on November 14, 2003, the name of Bellamy-Bey’s service provider,
                 and Bellamy-Bey’s phone records for that date.

       (v)       The parties shall submit a joint status report on or before November 23, 2005.

III.   Motion for Recusal

       On August 22, 2005, Bellamy-Bey filed a Motion for Recusal. Bellamy-Bey states that,

pursuant to 28 U.S.C. § 455(a), the undersigned must recuse himself from the instant case.

Section 455(a) states that a federal judge “shall disqualify himself in any proceeding in which his

impartiality might reasonably be questioned.” 28 U.S.C. § 455(a). The test is an objective one:

“[t]he inquiry is whether a reasonable person would have a reasonable basis for questioning the

judge’s impartiality . . .” In re Beard, 811 F.2d 818, 827 (4th Cir. 1987).
            Case 1:04-cv-02107-BEL Document 84 Filed 11/08/05 Page 3 of 3



       Bellamy-Bey argues that the Court’s bias is evidenced by rulings in this case and in other

cases involving Bellamy-Bey. As the Supreme Court noted in Liteky v. United States, “judicial

rulings alone almost never constitute a valid basis for a bias or partiality motion.” 510 U.S. 540,

555 (1994). Allegedly “incorrect” rulings “are proper grounds for appeal, not for recusal.” Id.

Bellamy-Bey’s motion will, therefore, be denied.

IV.    Conclusion

       For the reasons stated on the record during the telephone conference, the Court will, by

separate order, deny all other open motions. The Defendants’ Motion for Summary Judgement

may be refiled after discovery. The Court will set a briefing schedule once discovery is

complete.

Dated this 8th day of November, 2005.


                                                 _____/s/______________
                                                 Benson Everett Legg
                                                 Chief Judge
